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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )               Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                            ORDER

       Upon consideration of defendant Roger J. Stone, Jr.’s unopposed Motion to Modify

Permission to Travel [Dkt. # 166], the motion is GRANTED.

       It is ORDERED that the defendant may travel to Green Cove Springs, Florida on August 20,

2019, stopping in Jacksonville, Florida, and then travel to Belleview, Florida on August 21, 2019.

Defendant shall provide Pretrial Services with a copy of this Order and his specific travel

itinerary for the trip prior to his departure from the Southern District of Florida. Defendant may

not travel to any location aside from that set out above and must contact Pretrial Services

within the first business day by telephone upon his return.

       SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: August 12, 2019
